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                       Exhibit A

  Affidavit in Support of Search Warrant
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              GEOFFREY S. BERMAN
              United   States      Attorney   for the
              Southern    District       of New York
              By: DAVID ZHOU
              One St. Andrew's         Plaza
              New York, New York 10007
              (212) 637-2438                                           1            AG
              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK
                                                                   X            TO BE FILED UNDER SEAL

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                                                                                OF SEIZURE WARRANT
                                   -v.-                                         IN REM PURSUANT TO
                                                                                18 u.s.c. §§ 981
               ALL MONIES AND FUNDS CONTAINED IN                                AND 984
               HSBC BANK USA ACCOUNT 141000147,
               HELD IN THE NAME OF "GLOBAL
               TRADING SOLUTIONS LLC" AND ALL
               FUNDS TRACEABLE THERETO,
               INCLUDING ACCRUED INTEREST;

               ALL MONIES AND FUNDS CONTAINED IN
               HSBC BANK USA ACCOUNT 697825922,
               HELD IN THE NAME OF "REGINALD
               DENNIS FOWLER" AND ALL FUNDS
               TRACEABLE THERETO, INCLUDING
               ACCRUED INTEREST; AND

               ALL MONIES AND FUNDS CONTAINED IN
               HSBC SECURITIES USA ACCOUNT
               HMB861668, HELD IN THE NAME OF
               "REGINALD DENNIS FOWLER" AND ALL
               FUNDS TRACEABLE THERETO,
               INCLUDING ACCRUED INTEREST;

                                          Defendants-in-rem.

               -----------------                                   X



                                                               1


                                             Ex. A, Aff. in Support of SW, p.1              USAO-0001994
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STATE OF NEW YORK
COUNTY OF NEW YORK            :ss.:
SOUTHERN DISTRICT OF NEW YORK )


                TODD P. MCGEE, being                       first           duly      sworn,          hereby        depose          and

state      as    follows:

                   1.         I am a Special                   Agent        with      the        Federal          Bureau         of

Investigation              ("FBI")         and have             been         for     approximately                 17 months.

As such,         I am a "federal                  law      enforcement                officer"              within        the

meaning         of Federal            Rule       of Criminal                 Procedure              41(a)     (2) (C),          that

is,     a government               agent      engaged           in        enforcing           the     criminal            laws

and     duly     authorized            by the          Attorney              General          to     request          a search

warrant.           During          my time        as      a Special                Agent      for     the      FBI,       I have

participated             in    investigations                   of        fraud      schemes          and money

laundering,             among other              things,            and have          conducted              or

participated             in    surveillance,                   the        execution           of     search        warrants,

and     the     review        of     financial            records            and electronic

communications.

                   2.         This      affidavit              is        submitted          in      support          of    the

United         States      of America's                Application                  for     the      issuance             of a

seizure         warrant,           pursuant          to    18 U.S.C.                §§ 981 and              984:

                              a.       All       monies         and        funds          contained           in HSBC Bank

USA account             141000147,            held        in    the        name of           "Global          Trading

Solutions          LLC" (the            "GTS Account"),                      and all          funds         traceable


                                                                     2


                                     Ex. A, Aff. in Support of SW, p.2                                             USAO-0001995
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thereto,         including           accrued             interest.

                             b.          All         monies          and       funds        contained                   in HSBC Bank

USA account            697825922               ("Fowler              Account-1"),                    held        in      the     name of

"Reginald         Dennis          Fowler,"             and      all           funds        traceable               thereto,

including         accrued           interest.

                             c.          All         monies          and       funds        contained                   in HSBC

Securities         USA account                  HMB861668                    ("Fowler          Account-2"),                     held      in

the    name of         "Reginald               Dennis         Fowler,"                and      all      funds            traceable

thereto,         including           accrued             interest.

(collectively,               the      "Target            Property")

                  3.         The Target                 Property               constitutes                  the         proceeds          of,

and property            involved               in,     violations                    of    18 U.S.C.               §§ 1960

(operation          of an unlicensed                        money             transmitting                  business)               and

1957       (monetary         transactions                   involving                 property              of     specified

unlawful         activity)            ( the          "Target             Of fens es")            , as       described               below.

                  4.         This        affidavit                  is       based        upon       my personal

knowledge,          my review             of documents                        and     other          evidence;                 my

conversations             with       other            law      enforcement                  personnel                   and     other

individuals;            and my training,                            experience              and       advice             received

concerning          the      use     of        computers                 in     criminal             activity              and      the

forensic         analysis           of    computers                  and           computer          data.              Because         this

affidavit         is    being        submitted                 for           the     limited          purpose              of

establishing            probable               cause,          it        does        not    include               all      the      facts


                                                                         3


                                    Ex. A, Aff. in Support of SW, p.3                                                         USAO-0001996
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that      I have         learned         during           the     course       of my investigation.

Where      the      contents            of    documents             and      the     actions,              statements,              and

conversations               of     others          are      reported          herein,           they        are       reported

in     substance          and      in part,              except      where          otherwise              indicated.

                    5.         As set         forth        below,          there       is     probable               cause     to

believe          that     the      Target          Property          is      subject           to    seizure           and

forfeiture              pursuant         to    18 U.S.C.                 § 98l(a)       (1) (A)        &     (C) and          18

U.S.C.       § 981(b)            as property                involved          in violations                     of    18 U.S.C.

§§ 1960          (operating             an unlicensed                money          transmitting                  business)

and     1957       (monetary            transactions                involving           property                of specified

unlawful          activity),             or property                traceable               thereto.

                                      STATUTORYBASIS FOR FORFEITURE

                    6.          The statutory                   provisions           pursuant              to     which       the

Target       Property            is     subject           to     civil       seizure           and     forfeiture              are

as     follows:

Unlicensed              Money      Transmitting                  Business           Offense

                    7.          Title        18,    United          States          Code,       Section

981(a)       (1) (A),       subjects           to        civil      forfeiture:

          Any property,   real     or personal,      involved     in a transaction
          or attempted  transaction        in violation       of  section   1956, 1957
          or 1960 of this    title,    or any property         traceable    to such
          property.

                    8.          18 U.S.C.             § 1960        imposes          a criminal                 penalty        on

any person              who:

          knowingly             conducts,             controls,            manages,            supervises,                directs

                                                                    4


                                      Ex. A, Aff. in Support of SW, p.4                                              USAO-0001997
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         or owns all                 or part              of     an unlicensed                  money       transmitting
         business.

                     9.        As relevant                     here,       Section            1960(b)       (1)      defines          an

"unlicensed               money       transmitting                      business"             as    a

         money transmitting             business     which affects         interstate        or
         foreign      commerce in any manner or               degree     and     (A)  is
         operated       without       an appropriate       money transmitting             license
         in a State        where such operation            is   punishable        as  a
         misdemeanor          or a felony      under    State     law, whether        or not the
         defendant        knew that       the operation       was required          to be
         licensed       o:i:::-that the operation        was SD punishable,              CorJ (B)
         fails     to comply with the money transmitting                      business
         registration           requirements      under    section      5330    of title       31,
         United      States       Code, or regulations          prescribed        under such
         section.

Meanwhile,            Section          19 60 (b) (2)                   defines          "money          transmitting"                to

"include[]            transferring                    funds            on behalf           of      the     public         by any          and

all     means        including            but         not        limited          to     transfers              within        this

country         or    to      locations               abroad            by wire,           check,          draft,         facsimile,

or     courier."

                     10.       Arizona               law        requires          anyone           operating             a money

transmitting                business             to be licensed.                         In particular,                   Arizona

Revised           Statutes,           section                  6-1202,          provides           in    relevant          part       that

"[a]      person           shall      not        .             . engage          in     the     business            of    receiving

money       for      transmission                    or        transmitting              money.                     without          first

obtaining            a license              as provided                   in     this         chapter        or becoming              an

authorized                delegate          of       a licensee                 with     respect           to     those

activities."                  Meanwhile,                  Arizona              Revised         Statutes,            section          6-


                                                                           5




                                      Ex. A, Aff. in Support of SW, p.5                                                  USAO-0001998
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1201(17)             defines             the        term       "transmitting                   money"           to     mean         "the

transmission                  of money                by any means               including                 transmissions

within          this         country            or     to      or    from       locations                 abroad        by payment

instrument,                 wire,          facsimile,                internet            or       any      other         electronic

transfer,              courier             or       otherwise."

                                    a.          Based          on my review                  of    the      website            of      the

Arizona          Department                    of     Financial             Institutions,                   which            maintains                a

publicly              available                listing          of Arizona-licensed                             money

transmitters,                    I have              learned         that       at     no point              have        the

individual                  Reginald            Dennis          Fowler,           the        entity          "Global            Trading

Solutions               LLC" in            Chandler,                Arizona,            or     the        entities             "Bitfinex"

or      its     parent           company              "iFinex"           been         licensed             to        operate         as      a

money          transmitting                    business             in    the     State           of Arizona.

                        11.         Colorado                law requires                anyone            operating             a money

transmitting                   business               to be         licensed.                 In particular,                    Colorado

Revised              Statutes,             section             11-110-105,               provides               that         "[a]      person

shall          not      engage            in     the        business            of money             transmission                   without

first          procuring                 a license             from       the        board;          except           that      an agent,

subagent,               or representative                           of a licensee                    or     an employee                of        an

agent,           subagent,                or        representative                   who acts             on behalf             of     a

licensee               in     the        transmission.of                    money        by the             licensee            is     not

required               to be licensed                       under        this        article            110."           Meanwhile,



                                                                            6



                                           Ex. A, Aff. in Support of SW, p.6                                                   USAO-0001999
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Colorado        Revised          Statutes,               section           11-110-103(11),                             defines

"money       transmission"                to        "mean[]          the        sale         or      issuance               of        exchange

or   engaging        in     the     business                of receiving                     money            for      transmission

or   transmitting            money within                    the      United                States            or     to     locations

abroad       by any and            all     means            including              but         not           limited            to     payment

instrument,          wire,         facsimile,                or      electronic                    transfer."                     Under

Colorado        Revised           Statutes,                sections             11-110-118                    and      11-110-206,

                    of    the      money            transmission                 laws          can           be punishable                      as   a
violations

misdemeanor.

                            a.           Based         on my review                     of        the        website            of        the

                Department               of Regulatory                     Agencies,                 which           maintains                  a
Colorado

publicly        available            listing               of Colorado-licensed                                 money

transmitters,              I have         learned             that         at     no point                   have         the

individual          Reginald             Dennis            Fowler,          the         entity               "Global             Trading

Solutions         LLC" in Chandler,                         Arizona              (which,                according                to       the

Colorado         Secretary           of        State's         website,                 is        incorporated                       in

Colorado),          or     the      entities               "Bitfinex"                  or     "iFinex"                been           licensed

to   operate        as     a money             transmitting                 business                    in     the        State           of

Colorado.

                  12.        New York               law      requires             anyone                operating                a money

 transmitting             business             to     be     licensed.                  In particular,                           New York

                Law,      section          641(1),            provides                 that          "[n]o           person            shall         .
 Banking


                                                                      7



                                   Ex. A, Aff. in Support of SW, p.7                                                            USAO-0002000
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     . engage          in     the        business            of receiving                     money        for       transmission

or   transmitting                   the        same,        without           a license                 therefor            obtained

from      the     superintendent                         as provided               in        this       article,           ·nor       shall

any person             engage             in     such       business           as       an agent,                except          as    an

agent      of     a licensee                    or   as     agent         of a payee
                                                                                                                     fl
                                                                                                                            Under        New

York      Banking           Law,          section           650,      engaging                in money             transmission

without         the     required                  license          can be punishabl·e                        as      a misdemeanor

or    a felony.

                                  a.            Based       on my review                     of     the    website              of    the     New

York      Department                of     Financial               Services,                 which        maintains               a

publicly          available                    listing        of New York-licensed                               money

transmitters,                 I have              learned          that       at        no point            have          the

individual             Reginald                 Dennis        Fowler,           the          entity         "Global             Trading

Solutions             LLC" 1 in            Chandler,             Arizona,                or       the     entities              "Bitfinex"

or     "iFinex"             been        licensed            to     operate              as     a money             transmitting

business          in        the        State         of New York.

                      13.          The requirement                     that         money           transmitting



           Based on my review
           1                            of state      agency websites           for Arizona,
 Colorado,     and New York, as well as my review                     of U.S. Treasury
 records,     I learned,       among other        things,     that    GTS   is registered
 with certain       registered        agents,     namely,     Wolz Corporate          USA Inc.,
.Capitol     Corporate      Services,       Inc.,    and an individual            named
 Brandon    DeShaun Hicks.           None of those         registered       agents     has been
 licensed     to operate       as a money transmitting               business      in either
 Arizona,     Colorado,       or New York, or with            the    Secretar y      of the
 Treasury     or FinCEN.
                                                                          8




                                          Ex. A, Aff. in Support of SW, p.8                                                     USAO-0002001
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businesses                be registered                     with        the        U.S.         Department               of     Treasury            is

set    forth          in     a series               of      statutes               and      regulations,                  which          are

described             in     relevant               part       here:

                                  a.           Title          31,       United             States         Code,          section

5330(a)        (1) provides                    that         n[a]ny            person            who owns or               controls             a

money       transmitting                    business                shall          register              the     business             (whether

or not         the        business             is      licensed               as     a money             transmitting                 business

in    any      State)            with        the       Secretary               of        the     Treasury[.]"                     Section

5330(d)        (1),         in    turn,            explains,                in part,             that          the     nterm        'money

transmitting                 business'                 means                             (A) any.                      person         who

engages         as a business                       in      the      transmission                    of        funds,          including

any person                who engages                  as     a business                   in    an informal                   money

transfer             system            or    any network                    of people               who engage                 as a

business             in     facilitating                    the      transfer                  of money              domestically              or

internationally                        outside           of       the       conventional                  financial

institutions                 system;                (B) is          required               to     file         reports          under

section          5313;           and        (C) is          not         a depository                 institution                   (as

defined          in        section           5313(g)           ."

                                  b.           Title          31,        United            States          Code,         Section

5313(a)         provides                that          n[w]hen            a domestic                 financial                 institution

is    involved              in    a transaction                         for        the     payment,             receipt,            or

transfer             of United               States           coins           or         currency          .              in     an amount,



                                                                              9



                                            Ex. A, Aff. in Support of SW, p.9                                                    USAO-0002002
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denomination,                   or        amount          and      denomination,                    or     under        circumstances

the      Secretary              prescribes                 by regulation,                     the         institution                 and           any

other       participant                     in     the     transaction                 the        Secretary             may prescribe

shall       file         a report                on the           transaction                at     the      time       and          in        the

way the           Secretary                 prescribes."                     The term              "financial              institution"

is      defined          in     31 U.S.C.                 § 5312(a)            (2) (R) as                "a licensed                 sender           of

money       or     any other                 person          who engages                as        a business               in        the

transmission                  of      funds,             including            any person                  who engages                 as        a

business            in    an informal                     money         transfer             system          or      any network                     of

people          who engage                  as     a business                in    facilitating                   the      transfer                  of

money       domestically                      or     internationally                    outside              of      the

conventional                   financial                 institutions               system."

                                     c.          Under          the     statutory                 scheme       described                   above,

the      Secretary              of         the     Treasury             is     given         the         authority              to

establish              which          individuals                     and    entities              are      subject             to        31

U.S.C.           5330's          registration                     requirement.·                    31 U.S.C.               §§ 5313(a);

5330(a)          (2)     &      (c) (1).             These            regulations                 are     contained              in        the

Code       of      Federal            Regulations                     ("CFR").           In particular,                         31 C.F.R.                  §

1022.380(a)               (1)        provides              that        "each       money           services             business

 (whether           or not                licensed          as        a money        services               business             by any

State)          must          register             with         FinCEN            [an agency              within           the       U.S .

Department               of        Treasury]                                . as    required              by 31 U.S.C.



                                                                             10



                                           Ex. A, Aff. in Support of SW, p.10                                                    USAO-0002003
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             5330[.]"           31 C.F.R.                  § 1010.l00(ff)                     includes               a "money

             transmitter"                as     a "money                services             business."                 The term             "money

             transmitter"                is,        in     turn,         defined             by 31 C.F.R.                 § 1010.l00(ff)                  (5)

             to     include         "the        acceptance                 of currency,                      funds,       or     other        value

             that     substitutes                   for      currency             from        one person                and      the

              transmission               of     currency,                 funds,         or       other        value        that        substitutes

              for    currency            to     another             location             or person               by any means.                  'Any
=========================================·-·····
             means'        includes,                but      is     not        limited            to     .             an informal              value

              transfer         system;              or                    [a]ny         other          person          engaged          in    the

              transfer         of    funds."                 Accordingly,                    the       Treasury           regulations

              establish         that           any person                 engaged            in    the        transfer           of     funds       is

              required         to    register                with         FinCEN.

                                               d.           Financial              institutions                  are      required            to

              conduct         various           monitoring                 and reporting                      activities,               including

              the    filing         of     currency                transaction                 reports            ("CTRs")             and

              Suspicious            Activity                Reports            ("SARs").                 For     instance,              the     filing

              of CTRs is            mandated                by 31 C.F.R.                 § 1010.311,                   which        provides             that

              "[e]ach         financial                  institution                          . shall           file      a report            of    each

              deposit,         withdrawal,                    exchange             of    currency               or     other        payment         or

              transfer,          by,          through,             or     to    such          financial               institution             which

              involves         a transaction                       in     currency             of more            than         $10,000."            This

              regulation            applies               to money             services            businesses                  as defined



                                                                                        11



                                                    Ex. A, Aff. in Support of SW, p.11                                                   USAO-0002004
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above.          31 C.F.R.                   §    1022.310.                Likewise,             "[e]very          money          services

business          .            . shall               file       with       the      Treasury        Department,                  to          the

extent       and          in     the        manner            required           by this         section,             a report                of

any      suspicious                 transaction                     relevant          to   a possible             violation                   of

law      or regulation,"                         also         known as           SARs.          31 C.F.R.             §

1022.320(a)               (1).           By failing                  to    register         with      FinCEN,              a money

transmitting                   business               prevents             the      Treasury        from         ensuring               that

the      business              is      properly                filing       CTRs and            SARs.        This          has       the

effect       of       allowing                  an unregistered                     money       transmitting                   business

to    operate             as     a shadow               bank         through          which      funds       can pass                without

being       subjected                  to       the     scrutiny             that      Congress           has     sought               fit         to

impose       upon          the         United               States        financial           system.

                                    e.           Based          on my review               of    records          obtained                   from

the      United           States            Treasury,                 I have        learned        that      at        no point               have

the      individual                 Reginald                 Dennis        Fowler,         the     entity             "Global

Trading         Solutions                   LLC" in             Chandler,             Arizona,          or      the       entities

"Bitfinex"            2    or       "iFinex"                 been       registered          with      the        Secretary                   of     the

Treasury           or FinCEN                    as     a money            transmitting             business               as     set         forth




2 A post  on the website           news.bitcoin.com          claimed,       in substance
and in part,      that    "Bitfinex      is   registered        as   an  MSB   with FinCEN
under its    legal     name FGXNA Inc."            However,      based     on  my  review   of
U.S. Treasury       records,      I learned      that    there     is no entity       named
"FGXNA Inc."      licensed      or registered         with    the    Secretary     of   the
Treasury   or FinCEN.
                                                                            12


                                            Ex. A, Aff. in Support of SW, p.12                                                 USAO-0002005
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in     the     statutes            and         regulations                   described                above.

                                  f.           Based            on my review                   of publicly                 available

court         documents,               I have               learned              that,        on or about                 April      5,      2017,

iFinex,          BFXNA Inc.,                   BFXWWInc.,                        and      Tether         Limited           filed         a civil

lawsuit          in     federal               court           in      the        Northern            District             of California

against          Wells        Fargo            Bank.                See 17 Civ.                  1882       (N.D.         Cal.      2017)

(JSC).           As detailed                   below,               iFinex            claims         that       itself,            BFXNA, and

BFXWWoperate                   together                  as        Bitfinex,              with       BFNXA used              to     contract

with         U.S.-based                customers.

                                               i.              The civil                 complaint           explained,               in

substance              and     in part,                  that         iFinex             is    a "privately-held

financial              technology                   company               that         operates          a Virtual                Currency

trading          platform"                  incorporated                     in        the     British          Virgin            Islands

with         offices         in        Taiwan.                 See        17 Civ.             1882       (N.D.      Cal.          Apr.      5,

2017)          (Dkt.      No.          1,     at      '3[     6)     (the         "Complaint").

                                                ii.            The Complaint                     further          explained                that

 "BFXNA and BFXWWare                                wholly-owned                       subsidiaries               of       iFinex          that

 are      incorporated                   in        the        British            Virgin          Islands.              BFXNA contracts

 with        U.S.      based           customers                   that      use         iFinex's           Virtual           Currency

 platform,             while           BFXWWcontracts                             with        non-U.S.           customers.

 iFinex,            BFXNA, and BFXWW (collectively,                                                  "Bitfiri.ex")               operate

 globally,             with        their            primary               banking             relationships                  in     Taiwan."



                                                                                 13



                                        Ex. A, Aff. in Support of SW, p.13                                                        USAO-0002006
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                           7.)         Together,              iFinex,        BFXNA, and BFXWWoperated                                          as
(Complaint~

"Bitfinex"            through               the     website        www.bitfinex.com and provided                                a

trading        platform               for         cryptocurrencies.                     (Complaint~~                    15-16.)

                                             iii.      The Complaint                  also      explained               that

"Plaintiffs               have        worked          cooperatively                with      U.S.         law      enforcement

                     such        as    the          Department           of Justice,             Federal               Bureau         of
agencies,

                                 the        Internal           Revenue        Service,             the     Department                 of
Investigation,

Homeland            Security,               the      Secret       Service;            with      independent                federal

regulators             such       as        the      Commodity           Futures           Trading         Commission;

and,      with       state        regulatory                  agencies          and    others,            to      uphold            the

highest          standards             of         integrity        and      compliance              with          regulatory

law."          (Complaint~                    20.)

                                              iv.       The Complaint                 further            stated         that

"BFXNA and Tether                       are         registered           with      the       U.S.        Treasury

                             Financial               Crimes       Enforcement                Network            ("FinCEN")                 as
Department's

                                 Businesses.                   They      make reports                to     FinCEN             and        to
Money Services

                                                                  Intelligence                Units."               (Complaint                      ~
other       international                     Financial

21.)

                                 g.           Based       on my review                of     records            obtained              from

the     U.S.        Treasury,                I have       learned           that       BFXNA is            registered                 with

FinCEN         as     a money           transmitting                business.                On the            other      hand,

BFXWWis             not      registered                with      the     Secretary            of     the        Treasury              or



                                                                       14



                                       Ex. A, Aff. in Support of SW, p.14                                               USAO-0002007
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                                                                           3
FinCEN       as    a money      transmitting             business.

                          h.         As explained           in    detail         below,       I submit        there

is   probable         cause     to believe          that        Fowler         and GTS are          engaged      in

an unlicensed            money       transmitting           business            and    transacted        in

property          involved.     in    that     illegal          business         notwithstanding

BFXNA's       registration            with     FinCEN.           First,         when    the    GTS Account




         3 Based on my review                   of records          obtained        from the United
States      Treasury,          I learned,           among other            things,      that     Tether        is
registered         with FinCEN as a money transmitter.                                  According         to     a
public      records        search,        Tether        may have employees                who are also
employed        by Bitfinex.              However,         based       on    a public       records       search
and my review             of the Bitfinex               website        and the Complaint,               I
believe       that Tether           and     Bitfinex         are     separate        companies.
Furthermore,            I have seen no indication                        that    either       Reginald
Fowler      or Global          Trading        Solutions          LLC has any relationship                      to
Tether.
        Although          Tether       jointly        filed      the lawsuit           with iFinex
against       Wells Fargo,            the     Complaint          does      not    identify       any formal
relationship            between       Tether         and iFinex/Bitfinex.                   Instead,         the
Complaint         described         Tether        as, in substance                and in part,           "a
privately-held              financial         technology           company        that     operates       a
platform        to store,          send,      and make purchases                 with digital           tokens
called      tethers         that     are backed           by   U.S.      dollars       on   deposit        from
customers.          Tether       is incorporated               in Hong Kong and               has    offices
in Taiwan."              (Complaint         CJ[  8.)      With     respect        to the relationship
between        Bitfinex        and Tether,             the Complaint            stated,       in substance
and in part,            that       "Bitfinex          and Tether           are leading          members of
 the Blockchain             Alliance,"           which      is    "a   non-profi~          corporation
 that    creates        a forum for U.S. and global                          law enforcement             and
regulatory          agencies         and approximately                  30 digital         currency.
 companies        to share         information            and best practices                 and to work
 together       to combat criminal                   activity        using      digital       currency,
 such as government                corruption,            money       laundering,          and    terrorist
 financing."             (Complaint         CJ[ 19.)        Users of Bitfinex                can deposit
 either      fiat     currency         or tethers           into      their     Bitfinex        accounts.
  (Complaint        CJ[ 26.)


                                                           15



                                Ex. A, Aff. in Support of SW, p.15                                   USAO-0002008
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was      opened,         Fowler          provided        information                  to    HSBC indicating                        that

GTS was       a real            estate       development               and      investment                   business           that

                    rental         income         and     sold        properties.                  Neither                Fowler       nor
collected

                                any      affiliation             with,         or     claimed            to     be working                 as
GTS identified

an agent           of,     BFXNA or           any      other      entity            associated                with         Bitfinex.

                           GTS - which,                as noted          above,            is     not        registered               as     a
As a result,

money       transmitting                 business         with         FinCEN or            any         of     the        relevant

             - was operating                    as     an illegal              money        transmitter                    when       it
states

transferred               money        to   and      from      various          individuals                    and        entities,

including            other        GTS-related             entities,             on behalf                of Bitfinex.

Second,        as described                 below,        the      GTS Account                   sent         and     received

money       from         both     U.S.-based             persons          as well               as non-U.S.                based

persons.             By iFinex/Bitfinex's                        own admission                    in     the         Complaint,

its      licensed           entity          BFXNA was used                to        contract            with         U.S.-based

persons        only.             The separate               entity,          BFXWW, was used                         to     contract

with       non-U.S.             persons,        but      BFXWWis             not       licensed               with        FinCEN.

Accordingly,                even       assuming          arguendo            that          GTS is            an agent          of

BFXNA, the               GTS Account's                 numerous          transactions                   involving              non-

U.S.       persons          are       not    on behalf            of     an entity               covered             by a FinCEN

 license       and are             thus      illegal           money       transmissions.




                                                                   16



                                      Ex. A, Aff. in Support of SW, p.16                                                  USAO-0002009
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                Monetary           Transactions               Involving                   Property               of        Specified                Unlawful
                Activity           Offense

                                     14.         18 U.S.C.                 §    1957      imposes              a criminal                  penalty                on

                                         who "knowingly                        engages         or        attempts             to     engage            in         a
                any person

                monetary           transaction              in        criminally                derived                property                of     a value

                greater         than        $10,000         and            is    derived             from        specified                 unlawful

                                           Section      1957(f)                 (1)      defines              monetary             transaction                        to
                activity."

======illG-1.ud.£==1;-llB                  "dep_oscitccr=withdrawal                        =transfer                  , or        exchange            = ill---or


                affecting            interstate             or        foreign             commerce,                   of     funds         .                 II




                                     15.         Pursuant             to        18 U.S.C.                §§     1956(c)            (7) (A),

                 1957(f)      (3),         and     1961(1),                operating            an unlicensed                        money

                 transmitting               business             in        violation                of     18 U.S.C.                § 1960            is     a

                 specified           unlawful          activity                   for     the        purposes                of     Section             1957.

                 Seizure        Warrants

                                     16.          The Court                is     empowered                  by 18 U.S.C.                   § 981(b)                  to

                 issue       a seizure             warrant             for        any property                    subject             to       forfeiture

                 pursuant           to     18 U.S.C.             § 981(a)                (1) (A)         &     (C)           Section                981(b)            (2)

                 provides           that      such      a seizure                     may be made                 "pursuant                 to       a warrant

                 obtained           in     the     same manner                    as provided                    for        a search                warrant

                 under       the     Federal          Rules            of        Criminal            Procedure."                      In       addition,

                 Section           981(b)        (3) provides                    that,      notwithstanding                           the           provisions

                 of   Federal            Rule       of Criminal                   Procedure                   41(a),         a seizure                 warrant

                 may be       issued             pursuant             to        Section         981(b)            by a judicial                        officer


                                                                                          17



                                                     Ex. A, Aff. in Support of SW, p.17                                                             USAO-0002010
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in    any     district           in which           a forfeiture                        action      against        the

property           may be        filed         under          Title          28,        United      States        Code,

Section           1355(b).           Under        Section               1355(b)           (1) (A),      a forfeiture

              or proceeding                may be brought                          in    the     district         in which           any
action

of    the     acts         or   omissions              giving           rise        to     the     forfeiture            occurred.

As set        forth         below,       the      offenses               underlying               the       requested

seizure           warrant        included              acts        or    omissions               occurring          in    the

Southern           District          of New York.

                     17.        With      respect             to      fungible             property,            including           cash

         funds       deposited            in    a financial                    institution,                 18 U.S.C.           §   9.84
and

provides,             in    relevant           part,          that:

             (a) (1) In any forfeiture           action      in rem in which the
            subject    property       is cash,    monetar  y     instruments       in
            bearer    form,     funds deposited         in an account         in a
            financial     institution       .. ,   or   precious      metals:

            (A)       it shall           not     be necessary      for                     the Government      to
                      identify           the     specific    property                        involved    in the
                      offense          that      is the basis      for                     the forfeiture;       and

            (B)       it shall           not be a defense       that    the property
                      involved           in such    an offense      has   been removed                                   and
                      replaced           by identical     property.

             (2) Except     as provided      in subsection      (b), any
            identical     property      found in the same place          or account
            as the property        involved      in the offense     that   is the
            basis     for the forfeiture         shall be subject      to
            forfeiture      under    this   section.

             (b) No action   pursuant    to this    section   to forfeit
            property   not traceable     directly     to  the offense    that                                                is
            the basis    for the forfeiture       may be commen   ced   more


                                                                        18



                                     Ex. A, Aff. in Support of SW, p.18                                              USAO-0002011
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           than        1 year            from          the        date        of    the      offense.

                                            AS TO THE TARGET OFFENSES
                                   BACKGROUND

                       18.          Based          on my review                     of publicly                  available               news

articles           and        Internet                 postings,               including              my review                of     the

website           of     the        purported                  "cryptocurrency"                        trading          platform

Bitfinex               (www.bitfinex.com),                               I have           learned,            among       other             things,

the      following:

                                    a.           Bitfinex                is        a company           that       purports               to be        an

online        trading               platform                 for     cryptocurrencies.                            Based         on my

training           and         experience,                     I understand                   that         cryptocurrency,                       or

"virtual           currency,"                     is       a digital                representation                  of value                that

can      be digitally                     traded             and     functions                as      (1)      a medium             of

exchange,               (2)        a unit             of     account,               and/or           (3)    a store            of value,

but      does      not         have            legal         tender            status.             Unlike          so-called                fiat

currency,               which            is     currency             like           the     U.S.       dollar           that        a

                         has        declared                 to     be legal              tender           but     is    not        backed            by
government

a physical               commodity,                     cryptocurrency                       is    not        issued       by any

 jurisdiction                  and            functions             only           by agreement                within           the

 community              of users                 of     that        particular                currency.                 Bitcoin,              which

 users       store            in     digital               "wallets"                identified                by unique               electronic

 "addresses,"                  is        an example                 of        a cryptocurrency.

                                     b.           According                   to    the      Bitfinex             website,               users        of



                                                                                   19


                                          Ex. A, Aff. in Support of SW, p.19                                                        USAO-0002012
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Bitfinex           can      create       an account               through              the     website             and trade             in

cryptocurrencies.                       Users         can      fund      their          accounts,                 which      can

contain           different           "wallets,"               by making               deposits             of     certain            fiat

currencies,               including            the      U.S.      dollar,              into     bank         accounts

specified            by Bitfinex.

                               c.        The         "About"       page          of     the     Bitfinex              website

identifies            five      individuals                  as   comprising                  the      "Bitfinex                Senior

Team."            Reginald           Dennis          Fowler       is     not      listed             as     a member             of     the

"Senior           Team."

                               d.        On or          about         October           6,     2018,         a reporter                 for

"The      Block"          (www.theblockcrypto.com),                               which             describes             itself         as

a "reliable               and newsworthy                 source           for     all         things         pertaining                 to    .,

      . crypto,"            posted       on Twitter               the         following,               in    sum and

substance:               "Bitfinex           is      now banking               with          HSBC through                 a private

account           of Global           Trading           Solutions.                Very         good         fit      if    you        ask

me.        It's      also      worth         mentioning                that      all         EUR [Euro],              JPY

[Japanese            Yen]      and      GBP [British                   Pounds]          deposits              are     paused            but

that      Bitfinex            'expects            the       situation            to     normalize                 within         a

week.'            Banking           issues?"            The Twitter               post         included              the

following            image,          which        appears         to      be a screenshot                         from      a

Bitfinex           webpage:




                                                                   20


                                      Ex. A, Aff. in Support of SW, p.20                                                  USAO-0002013
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                                                to    show a Bitfinex                webpage           where     the      user
The screenshot                appears

                                         deposit         of       least      $10,000       U.S.        dollars         that
could       create         a wire

                                    to    his        or her        digital       wallet.           The recipient
would       be credited

                               identified               as      "Global       Trading        Solutions           LLC,"
of    the    wire      was

                                 W. Ray Rd.,                 #4-349,         Chandler,           AZ 85226,"            with
located         at    "4939

                                       141000147             at    HSBC Bank N.A.                in New York,             New
the     account        number

York,       i.e.,      the     GTS Account.

                              Based       on my review                    of HSBC "know your                customer"
                     19.

                                         for         GTS and        transactional               data      produced        by
 ("KYC")        information

                                                other          things,       that,      although           Fowler        told
HSBC, I learned,                 among

                     GTS was a real                   estate        development            and     investment
HSBC that

                           developed           properties             and would          earn      real      estate-
entity        that



                                                                   21



                                 Ex. A, Aff. in Support of SW, p.21                                         USAO-0002014
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related             income,               GTS instead                  appeared            to        be using          the         GTS Account

to    transmit              money               on behalf              of users            of Bitfinex.                       In

particular,                 I learned                   the        following:

                                      a.           The account                number                141000147           displayed                 in

the     screenshot                    above           is      associated              with           a HSBC Bank N.A.                      account

opened         in         the     name of                  "Global       Trading             Solutions                 LLC" ("GTS"),

and     is     referred                   to     in     this         Affidavit             as        the     GTS Account.                       In     the

account             opening               documents,                 GTS provided                    its     address           as        "400        N.

56th       Street,              Chandler,                   AZ 85226."

                                      b.           The GTS Account                      was opened                  on or          about

August             8,     2018 by Fowler.                            Based       on my review                      of KYC information

for      GTS maintained                          by HSBC and my conversation                                        with       an employee
                                                                                                                                                          -
of HBSC ("Employee-1"),                                       I learned,              among other                   things          1    that        HSBC

communicated                     directly                with        Fowler        to      collect             KYC information                         for

GTS.          According                    to     the       KYC information                     1    Fowler         told       HSBC, in

substance                 and     in part,                  that       he had         developed                many real                 estate

properties                 in     the           past.           He further              stated              that       GTS specifically

had       invested               in   1     and built/                 two properties/                        and      that        GTS would

hold         the        properties                 and        rent      them       out          to     collect          rental            income

or     sell         them         later            on and           invest        in     other              projects.               Fowler

stated             that         GTS's           principal              source         of        funds         would        be rental

income             or money                from         the     sale        of GTS 1 s properties.



                                                                              22



                                                Ex. A, Aff. in Support of SW, p.22                                                      USAO-0002015
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                               c.       With             respect             to        transfers            of     funds           into        the

GTS Account,              I observed,                    among other                    things,           the         following:

              on or           about         August             31,     2018            and     October           5,      2018,           the      GTS
Between

Account       received              approximately                       77 incoming                  wires            totaling

approximately                 $9,685,249.95.                          The wires                were       transmitted                    from

accounts          held        by various                 individuals                    and      entities              at     banks

across       the        world,        including                 Hong Kong,                   Germany,            Australia,

Turkey,          the     United        Arab             Emirates,                 and New York,                  New York.

                               d.           Based          on my training                        and      experience,                     I know

that      wire         transmissions                    include          an optional                     section             for

"Originator              to      Beneficiary                   Information"                     ("OBI")          where             the     sender

         include         a description                     or note                to     the      recipient,                 akin         to      the
can

memo line              on a check.                  Many of             the        wires          into       the        GTS Account

had      OBI sections                that          contained             only            numbers          and         did     not

                   the     reasons                for     the        wire.             However,           the         OBI sections                      of
describe

certain          wires        sent      to         the     GTS Account                       contained             descriptions

that,      based          on my training                        and     experience,                   do not            appear            on

their       face         to be related                    to     real         estate            transactions                  or         rental

income.            For     example:

                                             i.           Most        notably,                 for     a wire           of

approximately                  $11,000             sent         on or about                    October           3,     2018        by

 "Heinrich             F Maurer         Kreuzstrasse                         15 H" from                a U.S.-based                      Charles



                                                                         23



                                      Ex. A, Aff. in Support of SW, p.23                                                       USAO-0002016
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Schwab          account,            the     OBI stated,                    in       sum and          substance:

"REFERENCE: 9120505149                               BITFINEX:                      ACC. HEINRICH MAURER"

(emphasis           added).                Based          on my training                     and        experience,           I

believe          that      "ACC" is                 shorthand              for       "account"            and      that      this    wire

transfer          was intended                      to    deposit              money        into        Maurer's          Bitfinex

account.               (See     supra         :I[    18 (b),           (d).)

                                            ii.           For     a wire             of     approximately                 $19,110

sent       on or about               September                  26,     2018 by             "Gary        Wong" from           an

Australian              bank,        the      OBI stated,                      in    sum and            substance:           "TRADE

BROKER 9120168886                     TRANS 41613904022099407."

                                            iii.          For     a wire             of     approximately                 $81,673

sent      on or about                September                  27,     2018         by     "Mustafa         Aktas"          from    a

Turkish          bank,        the         OBI stated,                 in       sum and          substance:            "BUYING AND

SELLING FOREIGN EXCHANGE, 9120168886-4161-1950504-8169631."

                                            iv.           For     a wire             of     approximately                 $3,962     sent

on or       about        September                  27,     2018 by "Val                    Vincent         Mendoza"          from       a

bank       in    the     Philippines,                     the     OBI stated,                   in      sum and       substance:

"TRADE PAYMENTOF GOODS ORDERED /DELIVERED REF NO 9120168886

MESSAGE TO BEN 4161335111                                   1878193                 18.00       FEE DEDUCTED."

                                            v.            In addition,                    the      OBI sections              for

several          wires        contained                  descriptions                 such         as    "INVESTMENT,"

"INVESTMENT/SECURITIES,"                                  and         "PURCHASE INVESTMENT PRODUCT."



                                                                           24



                                      Ex. A, Aff. in Support of SW, p.24                                                   USAO-0002017
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                                e.           With      respect           to     transfers             of     funds         out        of

the    GTS Account,                   I observed,              among           other        things,          the         following:

Between      on or         about             September           6,      2018        and     October          5,         2018,        the

GTS Account          sent             approximately                  19 outgoing               wires         totaling

approximately               $2,334,068.95.                       The wires                were    transmitted                    to

accounts      held         by various                  individuals                  and     companies              at     banks

across      the     world,                including           Hong Kong,               Australia,             Taiwan,                and

Canada.

                                f.           I also          observed           transfers             to     and         from        the

GTS Account              involving                 other      companies              with      names         virtually

identical          to GTS and bank                         accounts            at    foreign          banks         that         I

believe      represent                    Fowler's           efforts           to move money between                             various

accounts          over     which             he has          control.           For       example:

                                             1.        On or         about          August       31,        2018,         the        GTS

Account      received                 an incoming               wire          for    approximately                      $5,000,000

from      an account                 in     the     name of           "Global          Trade      Solutions                 GMBH" at

the      German     bank             DB Privat-Und               Firmenkundenbank                       AG.         The OBI

section      for         that         wire         stated,        in     sum and            substance:

"INTERCOMPANY TRANSFER."

                                             ii.        On or        about          September              27 and         28,        2018,

the      GTS Account                 sent         a total       of      approximately                  $1,000,000                to        an

account      in     the         name         of      "GTS - Canada                  Corporation"               at        the



                                                                       25



                                          Ex. A, Aff. in Support of SW, p.25                                              USAO-0002018
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Canadian           Imperial              Bank         of Commerce.                  The OBI section                    for       the

transfer           on or         about           September          27,         2018        stated,             in   sum and

sub?tance,            "INTERCOMPANY TRANSFER."

                                  iii.         The GTS Account                     also       sent         an outgoing             wire

on or       about       September                    18,     2018     for       approximately                    $189,850          to     the

Bank       of America               account             of    an individual                   named         "Nancy         Krutoy,"

who has           an address               in Maryland                  (the       "Krutoy           Account").                  The OBI

section           stated,           in     sum and            substance:              "ORDER 37880                   PAYMENTTO

PARTNER FOR REAL ESTATE."                                     Based         on my conversation                        with        an

investigator                at      Bank         of America              and my review                     of    transactional

data       produced          by Bank                 of America,               I learned,              among other                things,

that       less      than         a month             earlier,           on or about                 August          24,     2018,        the

Krutoy        Account             sent          an outgoing              wire       for       approximately                  $190,000

(i.e.,        virtually                  the     same        amount         that       it     later         received             on or

about       September               18,         2018)        to   an account                 at    Deutsche           Bank        in    the

name of           "Global           Trade            Solutions           GMBH."              The OBI section                     for    that

August        wire      stated,                 in    sum and substance,                          "Trade         related."

                                  g.            Notably,          for       an outgoing                transfer             of

approximately                    $1,146.01                 on or about             October            5,    2018      to

"Epayments             Systems                 Ltd    Clients           Funds,"             the    OBI section               stated,

in     sum and substance:                            "OBI:PAYOUT E-WALLET 001-180796

PAYMENT TO PARTNER FOR INVESTMENT HOLDING" (emphasis                                                                       added).            As



                                                                        26



                                         Ex. A, Aff. in Support of SW, p.26                                                USAO-0002019
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discussed            above,            digital             "wallets         11
                                                                                 are        used       on the          Bitfinex

website         and are               used     to     store          cryptocurrency.

                                 h.           The OBI sections                         for      several          other         outgoing

wires      stated,           in        substance              and     in part,                "PAYMENT TO PARTNER FOR

INVESTING HOLDING11 but                              without          any reference                     toe-wallets.

                                 i.           Based         on my participation                           in     this

investigation,                   I learned                 on or about                 October          17,      2018         that     HSBC

had     reached         out           to     the     FBI regarding                     the      Target          Property.              I

then      personally                  met with             employees              of HSBC on or about                          October

18,     2018.         Meanwhile,                    based         on my review                  of     news      reports             and

Internet         posts,               I learned,              among other                    things,          that       on or        about

October         16 and           17,         2018,         several          blogs            that      cover         cryptocurrency

issues       posted           reports               that      Bitfinex                was     shifting           its       banking

relationship                from           HSBC to          the      Hong Kong-based                      Bank of

Communications.

                     20.         Based             on my review                  of    transactional                   data       produced

by HSBC, I learned,                           among         other.         things,            that       Fowler's             personal

account         at    HSBC (i.e.,                    Fowler          Account-1)                 received             almost

$60,000,000                from        accounts              in     the     name of             "Global          Trading

Solutions            LLC" at               two different                   banks            (Citibank           and Enterprise

Bank and          Trust)              in     a one-month                  time        period.            Fowler            then

transferred                the        vast         majority           of     those           funds       into        his      HSBC



                                                                           27



                                           Ex. A, Aff. in Support of SW, p.27                                               USAO-0002020
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securities             account            (i.e.,         Fowler            Account-2).                    Because            Fowler

moves      money between                   numerous              GTS-named                accounts              at     different

banks,        I submit             that        there       is        probable             cause          to    believe             that         the

funds       in    Fowler           Account-1              and Fowler               Account-2                  are      involved            in

violations             of   18 U.S.C.               §§ 1960             and     1957         and         are        therefore

subject          to    seizure.                18 U.S.C.              § 981(a)            (1) (A) & (C) and§

98l(b).           In particular,                    I have            learned             the      following:

                               a.          Fowler          is        the     listed             owner          of Fowler

Account-1.              The listed                 address            for     Fowler              Account-1             is         "4939        W

RAY RD#           4349,        CHANDLER, AZ,"                        which      is        virtually                 identical             to

the     address         listed            on the          Bitfinex            deposit              and wire-transfer

webpage          shown      in      Paragraph              18(d),            supra.

                               b.          Between              in    or     about          June         11,         2018     and        July
                               I



11,      2018,        accounts            in      the     name of            "Global              Trading             Solutions             LLC"

at    Citibank          and        Enterprise              Bank and Trust                         sent         approximately                    six

wires        totaling          approximately                     $59,712,154.97                      to        Fowler         Account-1.

                                            1.          Notably,             the         listed          address             for     the

Global        Trading          Solutions                 LLC account                at      Enterprise                 Bank         and

Trust       was       "4939        WRAY RD #4-349,                          CHANDLER, AZ 85226,"                              which         is

the      same     address            listed             on the        Bitfinex              webpage             and virtually

identical             to the         address             for     Fowler         Account-1.

                                            ii.          For     two of            the      six     wires,             the         OBI



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                                     Ex. A, Aff. in Support of SW, p.28                                                      USAO-0002021
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section       stated,            in     sum and          substance:            "INTERCOMPANY TRANSFER TEL

480-961-9610."

                              c.         Fowler          transferred              a total           of     approximately

$74,000,000               from     Fowler         Account-1             and    another           personal             savings

account       into         Fowler        Account-2.                Fowler         made approximately                         three

outgoing       wire         transfers             out     of Fowler            Account-2              in      or     about

August       2018,         leaving        a market             value        of more         than         $60,000,000              in

Fowler       Account-2             as    of     approximately                 October          10,       2018.           At least

one of       the     outgoing            wire         transfers            from    Fowler           Account-2             was

made to       the      account           of     an entity            that      shares          the       same        "4939       W.

Ray Road           #4-349,         Chandler,            AZ 85226"             address          as     Fowler          Account-

1,     the   Global         Trading           Solutions            LLC account              at      Enterprise               Bank

and Trust,           and      the       deposit         webpage          of    Bitfinex.

                              d.         In     the      account         opening          documents                for    Fowler

Account-2,           Fowler           indicated           that       the      account          was not             associated

with      a money          services           business,            or      "MSB,"       a term           of    art       that

includes       money          transmitting                businesses.

                    21.      Based        on my conversation                       with        an employee                of HSBC

("Employee-2")               who spoke             with        Fowler         several          times          on the

telephone           about        Fowler         Account-2            over      the      last         two weeks,              I

learned,       among other                things,           the      following:

                             a.          During          one      conversation,                Fowler          stated,           in



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substance          and in part,                that       the         sources           of     the      money         in   Fowler's

HSBC accounts              were         from     property              management                 and      certain         business

relationships              with         technology,              specifically,                     drones.

                             b.            Beginning            or     about          October           12,     2018,        Fowler

spoke      with        Employee-2             several           times           on the         telephone              regarding

Fowler's          attempt          to      transfer            money        out        of Fowler             Account-2.

Fowler      initially              sought        to      transfer               out     approximately

$40,000,000,              but      later       he increased                     the     amount          of     the     attempted

transfer          to     approximately                 $50,000,000.                     Fowler          asked         Employee-2,

in    substance           and      in part,            why the             attempted              money        transfers             were

not     being      completed.                 Fowler           told        Employee-2,                in      substance          and

in part,          that      the     money would                 be used               to buy         a building            in

London.

                   22.       Based          on my conversations                          with         an employee               of

HSBC ("Employee-3")                        and my review                   of     transactional                 data       produced

by. HSBC, I learned,                       among       other          things,           that         Fowler          controls         an

account         numbered           40119984080265                     domiciled              at      HSBC's       United

Kingdom         bank      ("Fowler            Account-3"),                  from        which         Fowler          made

numerous          outgoing          wire       transfers               to various                 individuals              and

entities          around          the      world,        as well            as yet           another           foreign          bank

account         with      a name similar                  to      GTS.           The transfers                  were

processed          through          a U.S.            dollar          correspondent                   account          numbered



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000269867             at     HSBC Bank USA.                       In particular,                       I learned                    the

following:

                                   a.          Fowler       is      the         listed          owner         of     Fowler

Account-3.                 The listed               address          for         Fowler          Account-3                    is     the       same

or virtually                 identical              West      Ray Road                 address           in        Chandler,

Arizona          that        is     associated              with          (i)      the     Global             Trading                Solutions

LLC account                 at     Enterprise              Bank and              Trust,           (ii)         the        Bitfinex

deposit          webpage,                and     (iii)       the     address              for         Fowler          Account-1.

                                   b.          Between           on or          about          July      19,         2018           and

October          9,        2018,         Fowler          Account-3              sent      about          40 outgoing                       wires

that      totaled            approximately                   $22,366,352.26.                           The outgoing                        wires

were      sent        to     the         accounts          of various                  individuals                   and           entities         at

banks      all        over         the        world,       including               Hong Kong,                  Australia,                     Japan,

Panama,          and        the         United      States.               The OBI section                          for        the         large

majority          of        the         outgoing          wires       stated,             in      sum and                substance,

"PAYMENT TO PARTNER FOR INVESTMENT" or                                                    "PARTNER PAYMENT."

                                   c.          Between           on or          about          September                 4,        2018       and

September             13,         2018,        Fowler        Account-3                 sent       approximately                           three

wires      totaling                about         $3,198,829               to      an ·account                 in     the           name of

"Global          Trade            Solutions              AG," with              an address               in        Switzerland.

The OBI section                         for    those        three         wires          all      stated,                in        sum and

substance:                 "INTER COMPANYTRANSFER."



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                                                              CONCLUSION

                     23.       Based          on the           foregoing,               I submit                that      there           is

probable         cause         to       believe           that        funds        held        in     the        accounts

constituting                the        Target       Property               are     subject            to        forfeiture                as

property         involved               in    violations                  of     18 U.S.C.            §§ 1960             (operating

an unlicensed                money           transmitting                  business)              and       1957         (monetary

transactions                involving              property               of     specified            unlawful                activity),

or property                traceable             thereto.

                                  a.         Specifically,                     I submit           that          there         is

probable         cause            to believe              that,           contrary           to      the        documents                and

representations                    Fowler          has        made to            HSBC, the            GTS Account                       was

used      to    receive            deposits              from        users        of     the        cryptocurrency

trading         platform               Bitfinex,              and     that        the      funds           in     the     GTS Account

were      subsequently                  transmitted                  to    other         individuals                    and        entities

around         the    world,            and/or           to    other           accounts             controlled                and        owned

by Fowler            or his            related           entities.                Although             the        subsidiary

BFXNA of Bitfinex's                          parent           company,            iFinex,            is      licensed               as    a

money      transmitter                  with       FinCEN,            GTS did            not        identify             itself           to

HSBC as         acting            as    an agent              for,        or having             any        affiliation                   with,

BFXNA, Bitfinex,                       iFinex,           or    any        other         Bitfinex-related                           entity.

In addition,                the        GTS Account                transmitted                  money         involving                  non-

U.S.      persons,            which          by Bitfinex/iFinex's                              own admission                       in    the



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Complaint           is     the         domain         of    a different                    subsidiary               BFXWWthat                 is

not    registered                or     licensed            with         FinCEN.                 Accordingly,              GTS and

Fowler          acted      as     a money             transmitting                 business                without         a license.

                                 b.        Moreover,               there         is        probable           cause         to believe

that      the      funds         transferred                into         Fowler            Account-1            and       Fowler

Account-2           from         accounts             of GTS-named                 entities                were        proceeds

involved           in,     or     traceable                to,     the         Target            Offenses.               Because

Fowler's           company,             GTS, is            not     licensed                to     transmit             money by the

U.S.      Treasury,              the      State        of Arizona,                    the        State       of Colorado,                 or

the    State.of            New York,                the     transmission                     of money             to     and     from         the

Target          Property              constitutes                the     unlicensed                 operation             of     a money

transmitting               business.                  It    necessarily                     follows          that        the

subsequent               transmissions                    and     transfers                 of    that       money        are        illegal

transactions               involving              property               of     a specified                  unlawful

activity,           namely,              the    illegal            money          transmitting                    business.

                     24.         Accordingly,                    pursuant             to     18 U.S.C.              §    98l(b),          I

respectfully               request             that        the         Court      issue           warrants              authorizing

the    seizure            of     the      Defendant               Property.

                     25.         At this            time,         Fowler          and his                co-conspirators                  are

not    aware         of this             investigation                   by the             FBI into          GTS and

Bitfinex.                Premature             disclosure                of     this            investigation                  may cause

the      conspirators,                   who may include                       individuals                 who run             the



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             Bitfinex       trading          platform       and      are        therefore         skilled         with

             computers          as well       as     individuals            who are          located        in    foreign

             countries          or have       money      located           in    foreign         countries,            to   seek         to

             destroy       evidence,          including         electronic               evidence,          or    to     flee      the

             United       States       to    avoid      investigation               or      arrest,     or       to    undertake

             efforts       to      conceal      their      illegal          proceeds.



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                       26.             Accordingly,                       I also       respectfully               request        that

this      Affidavit                    be        sealed           until       further          order        of    the    Court        so as

not     to      jeopardize                       the        investigation                of    this      matter,         except         that

the     Government                     may without                    further          order        from     this       Court        (1)

provide             this      Affidavit                      to    domestic            and     foreign           law    enforcement

authorities                  and personnel                         assisting             the    Government              in    this

investigation                      in           order        to    effect          the    seizure           of    the    Target

Property             and          to    otherwise                  aid      in     the    investigation                 of    this

matter,             and      (2)        produce                this        Affidavit           in     any    criminal           or    civil

forfeiture                 proceedings                       as    necessary             to    comply        with       any     discovery

and     disclosure                     obligations.




                                                                            TODD P. MCGEE
                                                                            Special Agent, FBI


Sworn t9 , bef 0:r.1e me
this 23rd day of October                                          2018.
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                                                Ex. A, Aff. in Support of SW, p.35                                            USAO-0002028
